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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

EDWARD RASCHEN, an individual,      )
                                    )
                        Plaintiff   )                Case No.:
                                    )
UNIFIED SCHOOL DISTRICT NO. 506 )
ALTAMONT, KS,                       )
                                    )
                        Defendant   )
____________________________________)

                                       COMPLAINT


       Plaintiff EDWARD RASCHEN (“Plaintiff”) hereby complains against Defendant

UNIFIED SCHOOL DISTRICT NO. 506 (“USD 506”) as follows:
                                  NATURE OF ACTION

       1.      This is a civil action brought pursuant to the Uniformed Services Employment

and Reemployment Rights Act of 1994, 38 U.S.C. §§ 4301 et. seq. (“USERRA”). It is brought

by Plaintiff against Defendant USD 506.

                                          PARTIES

       2.      Plaintiff, Edward Raschen (“Plaintiff”), is a citizen of the United States and a

resident of Kansas. Plaintiff is employed by Defendant USD 506, at 401 South High School

Street, Altamont, KS 67330, as an Assistant Principal at Labette County High School. At all

relevant times herein, Plaintiff is or was a Captain (paygrade O-3) in the Kansas Army

National Guard (“KANG”).

       3.      At all relevant times, Plaintiff was a qualified employee and member of the

uniformed services for purposes of 38 U.S.C. § 4303(3), (9), and (16).

       4.      Defendant USD 506 is a political subdivision or governmental unit of the State

of Kansas, with the power to contract, including contracts of employment, and is subject to

suit. At all times relevant, USD 506 is an employer for purposes of 38 U.S.C. § 4303

(4)(A)(iii) and § 4323(i).
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       5.      Whenever and wherever reference is made to individuals who are not named

as defendants in this action, but were employees/agents of Defendant USD 506, such

individuals at all times acted on behalf of Defendant USD 506 within the scope of their

respective employments and agencies.

                              JURISDICTION AND VENUE

       6.      This complaint arises under the Uniformed Services Employment and

Reemployment Rights Act, 38 U.S.C. §§4301-4335. The jurisdiction of this court is founded

on federal question jurisdiction, 28 U.S.C. §1331, as conferred by 38 U.S.C. §4323(b)(3).

Venue is proper because Defendant USD 506 is an employer within this district, as provided

in 38 U.S.C. §4323(c) (2), 28 U.S.C. §1391(b).

       7.      Pursuant to 38 U.S.C. § 4323(h), “No fees or court costs may be charged or

taxed against any person claiming rights under [USERRA].”
                        GENERAL FACTUAL ALLEGATIONS

       8.      Plaintiff re-alleges and incorporates herein by reference each and every

allegation contained within paragraphs 1 through 7, inclusive, as though set forth at length

herein and made a part hereof.

       9.      Plaintiff is a resident of Coffeyville, Kansas and a member of the KANG.

Plaintiff joined the KANG 13 years ago and was at all times herein performing various periods

of military service during his employment with USD 506.

       10.     Defendant USD 506 hired Plaintiff in 2012 and knew Plaintiff was in the

KANG when it hired him.

       11.     In June 2017, during Plaintiff’s second year as Assistant Principal and Athletic

Director, he was performing military service obligations and ultimately deployed with the 35th

Infantry Division. On the day Plaintiff became aware of the deployment, he met with USD

506’s head principal, Mr. Shane Holtzman, and Superintendent, Dr. John Wyrick, to inform

them of the pending deployment. Plaintiff also sent an email to faculty and staff informing

them of the same. Plaintiff timely provided USD 506 copies of his deployment orders as soon
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as they were available. Plaintiff informed USD 506, faculty and staff, he intended to return to

his role as Assistant Principal and Athletic Director upon completion of his deployment. Prior

to and during his deployment Plaintiff never expressed to USD 506 or coworkers any desire

to resign his position as Assistant Principal and Athletic Director.

        12.     On July 8, 2017 Plaintiff left the country to begin his overseas deployment.

Plaintiff remained in touch with USD 506 throughout his deployment sending several emails

between August 2017 and March 2018.

        13.     In March 2018, Plaintiff returned form deployment and was honorably

discharged. On March 22, Plaintiff met with USD 506, Mr. Holtzman and Dr. Wyrick to

timely apply for reemployment and discuss his return to work. Defendant USD 506 informed

Plaintiff that because he would only be working approximately 38 days, he would not be

receiving full pay from May through July.

        14.     Defendant USD 506 suggested Plaintiff could work as a driver’s education

instructor to supplement his salary from May through July. Defendant USD 506 promised to
set Plaintiff a driver’s education schedule, but never did. It also offered to pay Plaintiff a daily

rate over the summer if he came into work on non-contract days during the month of July.

Defendant USD 506 requested Plaintiff return to work on March 26, while Plaintiff was still

on military leave, to attend a school district meeting. Defendant USD 506 never informed

Plaintiff he would not be returning to his previous role as Athletic Director.
        15.     On March 26, 2018, while Plaintiff was on campus to attend the school district

meeting, Dr. Wyrick approached Plaintiff in a hostile manner and berated him about his

military service obligations in front of other faculty members. Dr. Wyrick was furious with

Plaintiff because Mr. Kevin Cole, a school board member, approached him about Plaintiff’s

reduced salary. Plaintiff explained he did not approach Mr. Cole, his father-in-law did. During

the discussion, Dr. Wyrick handed Plaintiff a contract for the 38 days of pay he was promised.

Plaintiff noticed the contract did not include pay for his role as Athletic Director to which Dr.
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Wyrick promised a new contract. Once again, USD 506 did not inform Plaintiff he would not

return to his position as Athletic Director.

       16.     Defendant USD 506 asked Plaintiff to chaperone the high school prom on April

14 while he was still on military leave.

       17.     On April 16, 2018, Plaintiff’s first day back to work, Mr. Holtzman, finally

told Plaintiff he would not be returning as Athletic Director. Mr. Holtzman told Plaintiff that

the school administration felt it best if his role as Assistant Principal was not complicated with

the Athletic Director responsibilities. Defendant USD 506 also told Plaintiff this was a “two-

year plan” and if he performed well, he would be promoted to principal after he [Mr.

Holtzman] was promoted. Plaintiff told Mr. Holtzman and Dr. Wyrick this was a violation of

USERRA and asked to be reinstated to his previous role of Athletic Director, as well as

Assistant Principal. Defendant USD 506 refused to reinstate Plaintiff to his previous role.

       18.     On or around May 2018 Plaintiff contacted Employer Support of the Guard

and Reserve (“ESGR”) for help with these issues. ESGR referred him to the United States
Department of Labor (“USDOL”) which initiated an investigation into Plaintiff’s claims.

Plaintiff’s case was assigned to Mr. Theathria Coney and became case #KS-2018-00006-20-

G, Mr. Raschen v. USD 506.

       19.      Plaintiff’s once positive relationship with Mr. Holtzman and Dr. Wyrick

become strained and began to impact Plaintiff’s relationship with other faculty and staff. Mrs.
Lori Green, a teacher and coach, told Plaintiff that USD 506 had announced to the school

personnel several months prior that he would not be returning as Athletic Director.

       20.      On or around May 12, 2018, Mr. Greg Traxson, USD 506’s employee, told

Plaintiff the student council had planned to present him with a gift during that month’s

graduation ceremony to welcome him home. Instead, Mr. Holtzman intervened and would not

allow the student council to present Plaintiff the gift. Mr. Holtzman privately and abruptly

handed the gift to Plaintiff and Plaintiff was not honored before the student body as planned.
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       21.        On or around June 25, 2018, Plaintiff requested letters of recommendation

from Dr. Wyrick and Mr. Holtzman and several other faculty members in support of his

application for a doctoral program. Both letters from Dr. Wyrick and Mr. Holtzman failed to

mention Plaintiff’s previous two years of athletic director work, while the five faculty

members who provided letters specifically referenced Plaintiff’s work as athletic director.

       22.        On or around June 26. 2018 USDOL submitted a letter to USD 506’s legal

team requesting, among other things, Plaintiff be reinstated to Athletic Director. Plaintiff also

emailed USD 506’s School Board President, Jessie Foister, on June 29, 2018 to the email

address listed on the school board’s website. In his email, Plaintiff requested she and the

school board pay him full wages for May through July and reinstate him as Athletic Director.

Ms. Foister did not respond to Plaintiff’s email and later claimed she never received any email

from Plaintiff.

       23.        On or around June 29, 2018 USD 506’s legal representative, Assistant

Executive Director of Legal Services, Ms. Donna Whiteman, sent a counter-resolution, in
which she stated, “If the intent of USERRA is to require Kansas school districts to be locked

into giving military personnel their supplemental athletic contract for the following year after

they return, then it would be a disincentive to Kansas school districts to hire military personnel

in those position[s] in the first place. I can’t imagine that was the intent of USERRA.

USERRA’s purpose was to protect the military employee’s main contract upon return and not
to limit employers from making changes to the structure and operation of supplemental

employee duties that are temporary in nature. When he returned from active duty Mr. Raschen

was paid the remainder of his supplemental contract for the 2017-2018 school year even when

he did not have to do the work. Mr. Raschen has received all that was legally due to him under

his 2017-2018 supplemental contract.”

       24.        On or around July 2018, USDOL interviewed Dr. Wyrick, Mr. Holtzman, Mr.

Smith, and Mr. Price, and as a result, Plaintiff’s working relationship with the school district

continued to be strained. Defendant USD 506 treated Plaintiff as an outcast and would often
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fail to include him in important school business. In years prior, Mr. Holtzman met with

Plaintiff near the end of July to plan the upcoming school year, Mr. Holtzman did not do this

in July 2018. Mr. Holtzman also failed to set performance expectations with Plaintiff for the

upcoming school year. Plaintiff sent several emails to USD 506 requesting guidance for that

school year’s goals, but USD 506 ignored Plaintiff’s requests.

       25.     In July 2018, Plaintiff emailed Mr. Holtzman a copy of his upcoming military

service obligation schedule (“drill schedule”).

       26.     From September through December 2018, USD 506 barred Plaintiff from

attending regularly scheduled school district administration meetings, meetings regularly

attended by other school district principals and administrators. Plaintiff was previously

included and attended these meetings.

       27.     On September 14, 2018, USDOL sent Ms. Whiteman its findings. In relevant

part, the document stated, “Based on the facts, as determined in our investigation, and the

application of federal law to the facts, it is VETS’ [USDOL] position that Mr. Raschen’s
allegations are meritorious. Specifically, we find that USD506 is not in compliance with the

USERRA law. Accordingly, we believe Mr. Raschen is entitled to properly reemployed

reemployment to the preservice position as Assistant Principal and Athletic Director, to

include a supplemental contract as the Athletic Director for the Academic School Year 2018-

2019. Granting this relief would bring USD506 into compliance with USERRA.”
       28.     On September 25, 2018, USD 506 offered a proposed resolution in response to

USDOL’s findings. USD 506 offered to supplement Plaintiff’s salary for the 2018-2019

school year in lieu of reinstating him as Athletic Director. USD 506 reiterated it was in the

student’s best interests if Plaintiff focused on his main contract the duties of as Assistant

Principal. Defendant USD 506 claimed it would be unfair to the 510 high school students if

Plaintiff were distracted by Athletic Director responsibilities while he is trying to improve his

performance as assistant principal. Plaintiff has always had excellent performance reviews;

this letter was the first time his performance had been called into question.
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       29.     Plaintiff, through USDOL, refused USD 506’s offer for salary only, and

countered that he be properly reemployed to his preservice position as Athletic Director, along

with reinstated pay and benefits associated with the secondary contract of Athletic Director

for school year 2018-2019. Plaintiff did offer, however, to resign the position of Athletic

Director (after having been properly reinstated) but retain its pay and benefits for the

remainder of the school year 2018-2019.

       30.     Defendant refused to rehire Plaintiff for the Athletic Director position and

declined the remainder of Plaintiff’s counter offer.

       31.     On or about October 8, 2018, USD 506 held a board meeting that was attended

by school administrators and faculty. The meetings are open to the public, including news

media. Mrs. Colleen Williamson, a Parsons Sun reporter, attended the meeting. Dr. Wyrick

confronted Mrs. Williamson about her attendance, accusing her of attending because of

Plaintiff’s USDOL investigation. Although Mrs. Williamson did not attend to investigate

“Plaintiff’s USDOL investigation,” she would do so because of her encounter with Dr.
Wyrick. Plaintiff did not attend this board meeting because he was at an educational

conference in Wichita, Kansas.

       32.     On or about October 10, 2018, Dr. Wyrick aggressively questioned Plaintiff

about his attendance at the educational conference, demanding a sign in roster or other

evidence of Plaintiff’s attendance. Dr. Wyrick, in a threatening manner, demanded Plaintiff
meet with him and Mr. Holtzman so Plaintiff could brief them on the information from the

educational conference.

       33.     Later that day, Mr. Holtzman called Plaintiff into his office and questioned him

about several upcoming educational conferences and his scheduled military duty. Defendant

USD 506 told Plaintiff he could not attend all these obligations. Plaintiff reminded Mr.

Holtzman that his military duty had no bearing on anything school-related, and the upcoming

conferences, to include the 2018 Kansas Department of Education Annual Conference and the

2018 Kansas School Public Relations Association (“KANSPRA”) Conference, were
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previously approved by him and Dr. Wyrick. Mr. Holtzman insisted Plaintiff change his

schedule and cancel the previously approved conferences.

        34.    On several occasions, USD 506 inappropriately discussed Plaintiff and the

USDOL investigation in a negative and derogatory manner in front of faculty and staff, often

sharing Plaintiff’s personal and private information with staff members. Defendant USD 506’s

behavior caused strain amongst faculty and staff and created a hostile work environment for

Plaintiff.

        35.    Defendant USD 506’s inappropriate behavior caused several school board

members to approach Plaintiff and his family about the USDOL investigation. Mr. Greg

Bogner, a school board member, texted Plaintiff’s personal cell phone to inquire about the

investigation and request a private meeting. And Mr. Cole met with Plaintiff’s wife for five

hours to discuss the on-going investigation. As a result, Plaintiff’s privacy was compromised,

and he became an outcast among board members, faculty, and staff.

        36.    On or about October 11, 2018, USDOL sent Plaintiff the closing letter to his
investigation. Plaintiff requested support from the United States Department of Justice

(“DOJ”) to defend his USERRA rights.

        37.    On or about November 7, 2018, Plaintiff was attending the Kansas Association

of Secondary School Principals (“KASSP”) annual conference in Wichita, Kansas. Mr.

Holtzman, Mr. Blackwell, and Dr. Wyrick all knew Plaintiff was at the conference because
Dr. Wyrick previously signed approval for Plaintiff to attend. On that same day, USD 506

held an impromptu special school board meeting in response to Mrs. Williamson’s Parson Sun

article about Plaintiff’s USDOL investigation. Mrs. Williamson made several attempts to get

comments from various school board members regarding the USDOL investigation, but none

would comment. The article was scheduled to be printed on November 8. Dr. Wyrick called

Plaintiff to request his attendance at the impromptu board meeting, at which time Plaintiff

reminded Dr. Wyrick he was attending the KASSP conference and could not attend. USD 506

continued with the special board meeting and according to board meeting notes published on
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the District’s website, Plaintiff often was the topic of discussion. Specifically, the District

addressed the importance of school administrators to focus on one role in the best interest of

the students. They explained this was the reason why Plaintiff would not be reassigned the

supplemental duties of Athletic Director. The board also discussed how proud USD 506 is of

its employees who serve in the military and as a show of appreciation and good will planned

to award Plaintiff an additional $10,000 to his 2018-2019 salary.

       38.     On November 14, the Parson Sun printed its article about Plaintiff’s situation

with USD 506, which provoked USD 506 to continue harassing Plaintiff. That day, USD 506

requested Plaintiff meet with board members Mrs. Foister, Mr. Bebb, Mr. Falkinstein, Dr.

Wyrick, and Mr. Blackwell. Plaintiff was harassed, intimidated and yelled at during this three-

hour meeting. The board members were angry because of details disclosed in the Parson Sun

article and because Plaintiff refused to accept USD 506’s offer of $10,000 for his “military

service.” Plaintiff refused the $10,000 because while he was away on military service the prior

year, the Athletic Director salary was increased from $10,000 to $20,000, making USD 506’s
offer even more inappropriate. Since that meeting and for the next several weeks, Plaintiff

was unduly pressured to accept USD 506’s offer, none of which would restore him to his

previous position as Athletic Director with the commensurate salary.

       39.     In the weeks following the confrontation, USD 506’s behavior towards

Plaintiff continued to deteriorate and gravely impact his work environment, to include
withholding letters of recommendation Plaintiff previously requested for his on-going

doctoral program. Defendant USD 506’s behavior cultivated distrust and divisiveness among

faculty and staff who openly gossiped and disrespected Plaintiff. Several other media stories

reported on Plaintiff’s situation, which drew open criticism from board members and their

families on social media, many of them calling the new stories, “fake news.”

       40.     On or around the end of 2018 Plaintiff received notice he would be called to

active duty again beginning January 2, 2019. Plaintiff timely informed district leadership, the

board of education and faculty and staff of his upcoming military service obligations. During
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Plaintiff’s preparations for his upcoming departure Plaintiff learned his 2018 W-2 incorrectly

shown he was paid the extra $10,000 previously offered to him, of which he never accepted

and was never paid.

       41.     July 2019 Plaintiff returned from active duty and timely applied for

reemployment. Unfortunately, Plaintiff’s return did not improve USD 506’s treatment and

attitude towards him. USD 506’s administration, faculty and staff continued to gossip about

Plaintiff and single him out because of the previous year’s DOL investigation. Plaintiff, as a

Vice Principal, was consistently and purposefully left out of critical school business by other

administrators, greatly reducing his effectiveness as Vice Principal.
                            Violations of 38 U.S.C. §4301 et seq.

       42.     Plaintiff hereby alleges and incorporates all paragraphs 1-41 above by

reference herein.

       43.     USERRA prohibits “discrimination against persons because of their service in

the uniformed services.” 38 U.S.C. §4301(a)(3).

       44.     Plaintiff is an individual protected under USERRA, 38 U.S.C. §§ 4301-4335.

       45.     Section 4311 of USERRA provides, in relevant part, that a person “who is a

member of,…performs, has performed,…or has an obligation to perform service in a

uniformed service shall not be denied… any benefit of employment by an employer on the

basis of that membership,…performance of service, or obligation.”

       46.     A “benefit of employment” is defined as:
       The term ‘benefit’, ‘benefit of employment’, or ‘rights and benefits’ means the terms,
       conditions, or privileges of employment, include any advantage, profit, privilege, gain,
       status, account, or interest (including wages or salary for work performed) that accrues
       by reason of an employment contract or agreement or an employer policy, plan, or
       practice and includes rights and benefits under a pension plan, a health plan, an
       employee stock ownership plan, insurance coverage and awards, bonuses, severance
       pay, supplemental unemployment benefits, vacations and the opportunity to select
       work hours or location of employment.
38 U.S.C. 4303(2).
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       47.     In its Fiscal Year 2010 report to Congress (published in July 2011), the

Department of Labor clarified its interpretation that a “benefit of employment” included

freedom from workplace harassment and/or a hostile work environment:
       The Department of Labor considers it a violation of USERRA for an employer to cause
       or permit workplace harassment, the creation of a hostile working environment, or to
       fail to take prompt and effective action to correct harassing conduct because of an
       individual’s membership in the uniformed service or uniformed service obligations
Department of Labor (USERRA) Fiscal Year 2010 Report to Congress.

       48.     Section 4313(a)(1)(A) and (B) of USERRA further provides, specific to the

benefit of reemployment positions, “…a person is entitled to reemployment…[and] shall be
promptly reemployed in a position of employment in which the person would have been

employed if the continuous employment of such person with the employer had not been

interrupted by such service, or a position of like seniority, status and pay…” or “in the position

of employment in which the person was employed on the date of commencement of the service

in the uniformed services…”

       49.     “An employee is entitled to reemployment in the job position that he or she

would have attained with reasonable certainty if not for the absence due to uniformed service.

This position is known as the ‘escalator position’.” 20 C.F.R. §1002.191

       50.     “[T]he employee’s status in the reemployment position could include

opportunities for advancement, general working conditions, job location, shift assignment,

rank, responsibility and geographical location.” 20 C.F.R. §1002.193

       51.     Section 4311 (c) further provides, in relevant part, that “[a]n employer shall be

considered to have engaged in actions prohibited… if the person's membership… or obligation

for service in the uniformed services is a motivating factor in the employer's action.”

       52.     Defendant USD 506 knowingly and willfully violated USERRA, including,

but not limited to, Sections 4311, 4313, and 4316 by denying Plaintiff benefits of employment

through discriminatory practices including, but not limited to, subjecting Plaintiff to a hostile
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work environment and affording him the opportunity to return to his previous position as the

Athletic Director.

       53.      Defendant USD 506 discriminated against Plaintiff, by denying him benefits

of employment “on the basis of” his “obligation to perform service in a uniformed service.”

       54.     As a direct and proximate result of the conduct of Defendant USD 506 as set

forth in this count, Plaintiff has suffered injuries and damages including but not limited to,

loss of past earnings and benefits, and loss of future earnings and benefits, all to his damage

in an amount to be proven at trial.

       55.     Plaintiff alleges such violations of USERRA were willful and requests

liquidated damages in an amount equal to the amount of his lost wages and other benefits

pursuant to 38 U.S.C. §4323(d)(1)(C).

       56.     Pursuant to 38 U.S.C. §4323(h), Plaintiff further requests an award of

reasonable attorney's fees, expert witness fees, and other litigation expenses.

                      Violations of Kansas Statute §§44-1125 et seq.
       57.      Plaintiff hereby alleges and incorporates all paragraphs 1-56 above by

reference herein.

       58.     Plaintiff brings this claim under Kansas state law with federal court jurisdiction

being conferred by 28 U.S.C. §1367(a).

       59.     Kansas Statutes Annotated §§44-1125 et seq. provides that no person shall
discriminate against any member of the military because of military status, discriminate

against a member of the military with respect to employment, or discriminate in employment

position or status because of membership or service in the military, and or deny employment

to any member of the military because of their membership or service in the military. KSA

§44-1126(b).

       60.     A motivating factor in denying Plaintiff reemployment to the Athletic Director

role was his military service obligations, in violation of §44-1126(b).
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       61.     Defendant USD 506 discriminated against Plaintiff, inter alia, by failing to

reemploy him in the position of Athletic Director, harassing him about his military service,

forcing him to attend school business while he was on military leave, and undermining his

status as Vice Principal.

       62.     As a direct and proximate result of the conduct of Defendant as set forth in this

count, Plaintiff has suffered injuries and damages including but not limited to, loss of past and

future earnings, loss of past and future benefits, non-pecuniary damages, all to his damage in

an amount to be proven at trial.
                                   PRAYER FOR RELIEF

       WHEREFORE, based on the foregoing, Plaintiff prays for relief against Defendant

as follows:

       1.      Declare that the acts and practices complained of herein are unlawful and are

in violation of USERRA, 38 U.S.C. § 4301 et seq. and KSA §44-1126(b);

       2.      Require that Defendant fully comply with the provisions of USERRA and KS

Stat §44-1126(b) by providing Plaintiff all employment benefits denied to him as a result of

the unlawful acts and practices under USERRA and KSA §44-1126(b) described herein;

       3.      Fees and expenses, including attorneys’ fees and costs pursuant to 38 U.S.C.

§4323(h) and KSA §44-1127;

       4.      Award Plaintiff prejudgment interest on the amount of lost wages or

employment benefits found due;

       5.      Order that Defendant pay liquidated damages in an amount equal to the amount

of lost compensation and other benefits suffered by reason of Defendant’s willful violations

of USERRA and KS Stat §44-1126(b);

       6.      Grant an award for costs of suit incurred; and,

       7.      Grant such other and further relief as may be just, and proper and which

Plaintiff may be entitled to under all applicable laws.
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                                               Respectfully Submitted,

                                               By: /s/ Christopher A. McElgunn
                                               Christopher A McElgunn, #13359
                                               KLENDA AUSTERMAN LLC
                                               301 N. Main Street
                                               Wichita, KS 67202-4816
                                               Telephone: (316) 290-4621
                                               Facsimile: (316) 267-0333
                                               cmcelgunn@klendalaw.com

                                               Brian J. Lawler (pro hac vice pending)
                                               PILOT LAW, P.C.
                                               850 Beech Street, Suite 713
                                               San Diego, California 92101
                                               Telephone: (619) 255-2398
                                               Facsimile: (619) 231-4984
                                               blawler@pilotlawcorp.com
                                               Attorneys for Plaintiff

                               DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby

demands a trial by jury of all issues triable as of right by a jury in the above action.

                                               By: /s/ Christopher A. McElgunn
                                                   Christopher A. McElgunn, #13359

                          DESIGNATION OF PLACE OF TRIAL

       Plaintiff designates Wichita, KS as the place of trial for this action.

                                               By: /s/ Christopher A. McElgunn
                                                   Christopher A. McElgunn, #13359




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